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IN THE UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF ARKANSAS

FORT SMITH DIVISION
UNITED STATES OF AMERICA )
)
v. ) CRIMINAL NO. 2:20 CR 20014-005
)
ALBERTO LEDESMA )

a/k/a Juan Socorro Maciel-Martinez, Juan _ )
Gonzalez, Juan Gonzalez-Martinez, Juan )
Maciel Juan Martinez-Maciel, Juan Marciel )

PLEA AGREEMENT

Pursuant to Rule 11(c)(1) of the Federal Rules of Criminal Procedure, the parties hereto
acknowledge that they have entered into negotiations which have resulted in this Agreement. The
agreement of the parties is as follows:

COUNTS OF CONVICTION AND DISMISSAL

1. The Defendant, Alberto Ledesma, a/k/a Juan Socorro Maciel-Martinez, a/k/a Juan
Gonzalez, a/k/a Juan Gonzalez-Martinez, a/k/a Juan Maciel, a/k/a Juan Martinez-Maciel, a/k/a
Juan Marciel, hereby agrees to plead guilty to count nine (9) of the First Superseding Indictment
charging the Defendant with aiding and abetting in the distribution of more than fifty (50) grams
of methamphetamine, in violation of 21 U.S.C. § 841(a)(1), 21 U.S.C. § 841(b)(1)(A)(viii) and 18
U.S.C. § 2. Ifthe Court accepts this Plea Agreement, once the Court has pronounced sentence,
the United States will move to dismiss the remaining counts of the Indictment and the forfeiture
allegation pending against the defendant.

CONSENT TO PROCEED BEFORE THE MAGISTRATE JUDGE

2. The Defendant acknowledges that he has been advised and understands that he has

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a right to have a United States District Judge presiding when he enters a guilty plea and that he
can exercise that right without concern or reservation. The Defendant and the United States hereby
consent to have the proceedings required by Rule 11 of the Federal Rules of Criminal Procedure
incident to the making of the plea to be conducted by the United States Magistrate Judge. If, after
conducting such proceedings, the Magistrate Judge recommends that the plea(s) of guilty be
accepted, a presentence investigation and report will be ordered pursuant to Federal Rule of
Criminal Procedure 32. The Defendant acknowledges that his plea of guilty is subject to approval
and acceptance by the District Judge and that sentencing will be conducted by the District Judge.

WAIVER OF OBJECTIONS TO MAGISTRATE’S
REPORT AND RECOMMENDATION

3. The parties acknowledge that pursuant to 28 U.S.C. § 636(b)(1)(B), the failure to
file objections to the Report and Recommendation within fourteen (14) days bars them from
objecting to the District Court's acceptance of the guilty plea as recommended by the Magistrate
Judge. Having been advised of the right to object to the Report and Recommendation, the parties
wish to waive that right for the purpose of expediting acceptance of the guilty pleas(s) in this
matter. Accordingly, evidenced by their signatures appearing below, the parties hereby waive the
right to object to the Magistrate Judge's Report and Recommendation Concerning Plea of Guilty,
and consent to acceptance of the same by the United States District Judge so that acceptance of
the guilty plea(s) may proceed forthwith.

ADMISSION OF FACTUAL BASIS IN SUPPORT OF GUILTY PLEA(S)

4, The Defendant has fully discussed with defense counsel the facts of this case and
the elements of the crime(s) to which the Defendant is pleading guilty. The Defendant has
committed each of the elements of the crime(s) to which the Defendant is pleading guilty, and

admits that there is a factual basis for this guilty plea. The following facts are true and undisputed:

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a. On December 19, 2019, a confidential informant working in conjunction with
federal investigators contacted an individual they knew as Alberto Ledesma to
arrange for the purchase of 8 ounces of methamphetamine in exchange for
$2,300. Ledesma explained that he was out of state in North Carolina, but the
informant could visit his house on MacArthur Drive in Fort Smith and his
brother, Efrain Maciel-Martinez, would make the sale of methamphetamine to
the informant.

b. Acontrolled purchase was planned. To accomplish the controlled purchase, the
informant was searched with no contraband located, they were provided with
$2,000 in law enforcement funds, and equipped with a recording device to
monitor and memorialize the transaction.

c. The informant traveled to the residence at 4009 MacArthur Drive in Fort Smith
and entered the home at approximately 4:36 pm. Inside, Efrain Maciel-Martinez
sold what was represented to be eight (8) ounces of methamphetamine to the
informant in exchange for $2,000 in law enforcement funds. The transaction
was captured on the recording device.

d. The informant left the residence at approximately 4:37 pm and traveled back to
law enforcement’s location. The informant provided the recording device and
suspected methamphetamine to investigators, was searched again for
contraband with negative results, and released from the operation.

e. On December 30, 2019, a second controlled transaction was planned to pay
Alberto Ledesma the outstanding $300 balance from the sale of
methamphetamine on December 19, 2010. The informant was searched with no
contraband located, they were provided with $300 in law enforcement funds,
and equipped with a recording device to monitor and memorialize the
transaction. Once complete, the informant traveled to Alberto Ledesma’s
location and provided him with the outstanding $300 balance. The payment
of $300 to Ledesma was captured on the recording device.

f. The suspected methamphetamine was sent to the DEA Laboratory for testing,
which confirmed the substance to be 216.4 grams of actual methamphetamine.

g. On September 10, 2020, the individual the informant knew as Alberto Ledesma
was fingerprinted and it was determined that “Alberto Ledesma” was an alias,
and that the defendant is also known by the following names: Juan Socorro
Maciel-Martinez; Juan Gonzalez; Juan Gonzalez-Martinez; Juan Maciel; Juan
Martinez-Maciel; and Juan Marciel.

h. Based upon the facts above, the defendant agrees that the United States could
prove beyond a reasonable doubt that he and Efrain Maciel-Martinez, aided and
abetted by each other, distributed more than fifty (50) grams of
methamphetamine.

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ADVICE OF RIGHTS
5. The Defendant hereby acknowledges that he has been advised of and fully
understands the following constitutional and statutory rights:

a. to have an attorney and if the Defendant cannot afford an attorney, to have
one provided to him and paid for at the United States’ expense;

b. to persist in his plea of not guilty;
G: to have a speedy and public trial by jury;
d. to be presumed innocent until proven guilty beyond a reasonable doubt;
e to confront and examine witnesses who testify against him;
f. to call witnesses on his behalf;
g. to choose to testify or not testify and that no one could force the Defendant
to testify; and,
h. to have at least 30 days to prepare for trial.
WAIVER OF RIGHTS
6. The Defendant hereby acknowledges that he understands with respect to each count

to which he pleads guilty, he thereby WAIVES all of the rights listed as (b) through (h) of the
above paragraph.
WAIVER OF ACCESS TO RECORDS

7. The Defendant hereby waives all rights, whether asserted directly or by a
representative, to request or receive from any department or agency of the United States any
records pertaining to the investigation or prosecution of this case, including without limitation any
records that may be sought under the Freedom of Information Act, 5 U.S.C. § 552, or the Privacy
Act of 1974, 5 U.S.C. § 552a.

WAIVER OF "HYDE" CLAIM

8. The Defendant hereby waives any claim under the Hyde Amendment, 18 U.S.C. §

3006A (Statutory Note), for attorney fees and other litigation expenses arising out of the

investigation or prosecution of this matter.

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EFFECTS OF BREACH OF THIS AGREEMENT BY DEFENDANT

2. The Defendant agrees that if after signing this Plea Agreement the Defendant
commits any crimes, violates any conditions of release, or fails to appear for sentencing, or if the
Defendant provides information to the Probation Office or the Court that is intentionally
misleading, intentionally incomplete, or intentionally untruthful, or if the Defendant violates any
term of this Plea Agreement, takes a position at sentencing which is contrary to the terms of this
Plea Agreement or attempts to withdraw from this Plea Agreement, this shall constitute a breach
of this Plea Agreement which shall release the United States from any and all restrictions or
obligations placed upon it under the terms of this agreement and the United States shall be free to
reinstate dismissed charges or pursue additional charges against the Defendant. The Defendant
shall, however, remain bound by the terms of the agreement, and will not be allowed to withdraw
this plea of guilty unless permitted to do so by the Court.

10. The Defendant further agrees that a breach of any provisions of this Plea Agreement
shall operate as a WAIVER of Defendant's rights under Rule 11(£) of the Federal Rules of Criminal
Procedure and Rule 410 of the Federal Rules of Evidence and the United States shall be allowed

to use and to introduce into evidence any one or more of the following:

a. admissions against interest, both oral and written, made by the Defendant
to any person;

b. statements made by the Defendant during his change of plea hearing;

c. the factual basis set forth in the Plea Agreement;

d. any testimony given under oath in these proceedings or to a grand jury or a
petit jury;

€. any and all physical evidence of any kind which the Defendant has provided
to the United States; and,

f. any and all information provided by the Defendant to the United States’

attorneys, or to federal, state, county, and/or local law enforcement officers.

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STIPULATION ON DRUG QUANTITY
ll. The United States and the Defendant agree that the most readily provable amount
of drugs for which the Defendant should be held accountable is at least 500 grams of
methamphetamine (actual), but less than 1.5 kilograms of methamphetamine (actual). Pursuant

to U.S.S.G. § 2D1.1, this quantity of drugs equates to a gross base offense level of 34. Should
the Court find the Defendant qualifies as a career offender pursuant to U.S.S.G. § 4B1.1, the
Defendant acknowledges his gross base offense level will be adjusted accordingly.
MAXIMUM PENALTIES
12. The Defendant hereby acknowledges that he has been advised of the maximum
penalties for each count to which he is pleading guilty. By entering a plea of guilty to count nine
(9) of the Indictment, the Defendant agrees that he faces:

a maximum term of imprisonment for life;

a mandatory minimum term of imprisonment for 10 years;

a maximum fine of $10,000,000;

both imprisonment and fine;

a term of supervised release of not less than 5 years, nor more than life
which begins after release from prison;

a possibility of going back to prison if the Defendant violates the conditions
of supervised release;

g. a special assessment of $100.00 for each count of conviction.

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CONDITIONS OF SUPERVISED RELEASE
13. The Defendant acknowledges that if a term of supervised release is imposed as part
of the sentence, the Defendant will be subject to the standard conditions of supervised release as
recommended by the United States Sentencing Commission and may be subject to other special
conditions of supervised release as determined by the Court. The standard conditions of
supervised release are as follows:

a. The Defendant shall report to the probation office in the federal judicial district
where he or she is authorized to reside within 72 hours of release from

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imprisonment, unless the probation officer instructs the Defendant to report to a
different probation office or within a different time frame.

b. After initially reporting to the probation office, the Defendant will receive
instructions from the court or the probation officer about how and when to report to
the probation officer, and the Defendant shall report to the probation officer as
instructed.

c. The Defendant shall not knowingly leave the federal judicial district where he or
she is authorized to reside without first getting permission from the court or the
probation officer.

d. The Defendant shall answer truthfully the questions asked by the probation officer.

e. The Defendant shall live at a place approved by the probation officer. If the
Defendant plans to change where he or she lives or anything about his or her living
arrangements (such as the people the Defendant lives with), the Defendant shall
notify the probation officer at least 10 days before the change. If notifying the
probation officer at least 10 days in advance is not possible due to unanticipated
circumstances, the Defendant shall notify the probation officer within 72 hours of
becoming aware of a change or expected change.

f. The Defendant shall allow the probation officer to visit the Defendant at any time
at his or her home or elsewhere, and the Defendant shall permit the probation officer
to take any items prohibited by the conditions of the Defendant’s supervision that
he or she observes in plain view.

g. The Defendant shall work full time (at least 30 hours per week) at a lawful type of
employment, unless the probation officer excuses the defendant from doing so. If
the Defendant does not have full-time employment he or she shall try to find full-
time employment, unless the probation officer excuses the defendant from doing
50. If the Defendant plans to change where the Defendant works or anything about
his or her work (such as the position or the job responsibilities), the Defendant shall
notify the probation officer at least 10 days before the change. Ifnotifying the
probation officer at least 10 days in advance is not possible due to unanticipated
circumstances, the Defendant shall notify the probation officer within 72 hours of
becoming aware of a change or expected change.

h. The Defendant shall not communicate or interact with someone the Defendant
knows is engaged in criminal activity. If the Defendant knows someone has been
convicted of a felony, the Defendant shall not knowingly communicate or interact
with that person without first getting the permission of the probation officer.

+ If the Defendant is arrested or questioned by a law enforcement officer, the
Defendant shall notify the probation officer within 72 hours.

j. The Defendant shall not own, possess, or have access to a firearm, ammunition,
destructive device, or dangerous weapon (i.e., anything that was designed, or was
modified for, the specific purpose of causing bodily injury or death to another
person, such as nunchakus or Tasers).

k. The Defendant shall not act or make any agreement with a law enforcement agency
to act as a confidential human source or informant without first getting the
permission of the court.

|. Ifthe probation officer determines that the Defendant poses a risk toanother person
(including an organization), the probation officer may require the Defendant to

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notify the person about the risk and the Defendant shall comply with that
instruction. The probation officer may contact the person and confirm that the
Defendant has notified the person about the risk.

m. The Defendant shall follow the instructions of the probation officer related to the
conditions of supervision.

PAYMENT OF MONETARY PENALTIES

14. The Defendant agrees that monetary penalties to include special assessments, fine,
and/or restitution imposed by the Court will be (i) subject to immediate enforcement as provided
in 18 U.S.C. § 3613c, and (ii), submitted to the Treasury Offset Program so that any federal
payment such as an income tax refund or transfer of returned property the defendant receives may
be offset and applied to federal debt without affecting the periodic payment schedule ordered by
the Court.

NO OTHER CHARGES

15. | The United States agrees that no other federal charges, which stem from the
activities described in the Indictment, will be brought against the Defendant in the Western District
of Arkansas.

SENTENCING GUIDELINES ARE ADVISORY BUT NOT MANDATORY

16. The parties acknowledge that the Court shall consult and take into account the
United States Sentencing Commission Guidelines in determining the sentence, but that the Court
is not bound by the Guidelines and may sentence the Defendant to any sentence within the statutory
range.

AGREEMENT DOES NOT PROMISE A SPECIFIC SENTENCE

17. The Defendant acknowledges that discussions have taken place concerning the

possible guideline range which might be applicable to this case. The Defendant agrees that any

discussions merely attempt to guess at what appears to be the correct guideline range and do not

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bind the District Court. Further, the Defendant acknowledges that the actual range may be greater
than contemplated by the parties. In the event that the actual guideline range is greater than the
parties expected, the Defendant agrees that this does not give him the right to withdraw his plea of
guilty.
RELEVANT CONDUCT CONSIDERED

18. Atthe sentencing hearing, the United States will be permitted to bring to the Court's
attention, and the Court will be permitted to consider, all relevant information with respect to the
Defendant's background, character and conduct, including the conduct that is the subject of this
investigation for which he has not been charged up to the date of this Agreement, and/or which is
the basis for any of the counts which will be dismissed pursuant to this agreement, as provided by
§ 1B1.3 of the Sentencing Guidelines.

PERJURY

19. Inthe event that it is determined that the Defendant has not been truthful with the
Court as to any statements made while under oath, this Plea Agreement shall not be construed to
protect the Defendant from prosecution for perjury or false statement.

CONCESSIONS BY THE UNITED STATES

20. The United States agrees not to object to a recommendation by the Probation Office
or a ruling of the Court which awards the Defendant an appropriate-level decrease in the base
offense level for acceptance of responsibility. If the offense level in the Presentence Report is 16
or greater and the Court accepts a recommendation in the Presentence Report that the Defendant
receive two points for acceptance of responsibility, the United States agrees to move for an
additional one-point reduction for acceptance of responsibility for a total of three points. However,

the United States will not be obligated to move for an additional one-point reduction or recommend

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any adjustment for acceptance of responsibility if the Defendant engages in conduct inconsistent
with acceptance of responsibility including, but not limited to, the following a) falsely denies, or
makes a statement materially inconsistent with, the factual basis set forth in this agreement, b)
falsely denies additional relevant conduct in the offense, c) is untruthful with the United States,
the Court or probation officer, or d) materially breaches this Plea Agreement in any way.
UNITED STATES’ RESERVATION OF RIGHTS
21. Although the United States agrees not to object to certain findings by the Probation

Office or to rulings of the Court, it reserves the right to:

a. make all facts known to the Probation Office and to the Court;
call witnesses and introduce evidence in support of the Presentence Report,
e contest and appeal any finding of fact or application of the Sentencing
Guidelines;
d. contest and appeal any departure from the appropriate Guideline range; and,
e. defend all rulings of the District Court on appeal including those rulings

which may be contrary to recommendations made or positions taken by the
United States in this Plea Agreement which are favorable to the Defendant.
NO RIGHT TO WITHDRAW THE GUILTY PLEA

22. The United States’ concessions on sentencing options are non-binding and made

pursuant to Rule 11(c)(1)() of the Federal Rules of Criminal Procedure. Asa result, ifthe Court

should reject the Defendant's requests or recommendations for certain findings of fact or

applications of the Guidelines, the Defendant acknowledges that there is no right to withdraw the
guilty plea.

DISMISSAL OF COUNTS
23. The United States’ agreement to dismiss certain counts of the Indictment is made
pursuant to Rule 11(c)(1)(A) of the Federal Rules of Criminal Procedure. As a result, if the Court

should reject the United States’ motion to dismiss the agreed counts of the Indictment, the

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Defendant shall be afforded the right to withdraw his plea pursuant to Rule 11(c)(5)(B) of the
Federal Rules of Criminal Procedure.
AGREEMENT NOT BINDING ON THE COURT
24. The parties agree that nothing in this Agreement binds the District Court to:

make any specific finding of fact;

make any particular application of the Sentencing Guidelines;

hand down any specific sentence;

accept any stipulation of the parties as contained in this Plea Agreement,
and,

e accept this Plea Agreement.

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22s The United States and the Defendant acknowledge that the Court has an obligation

to review the Presentence Report before it accepts or rejects this Plea Agreement.
AGREEMENT DOES NOT BIND ANY OTHER ENTITY
26. The parties agree that this Plea Agreement does not bind any governmental entity

other than the United States Attorney's Office for the Western District of Arkansas.

SPECIAL ASSESSMENT
27. The Defendant agrees to pay $100.00 as the special assessment in this case.
REPRESENTATIONS BY DEFENDANT

28. By signing this Plea Agreement, the Defendant acknowledges that:

a. The Defendant has read this Agreement (or has had this Agreement read to
him) and has carefully reviewed every part of it with defense counsel.
b. The Defendant fully understands this Plea Agreement and is not under the

influence of anything that could impede the Defendant's ability to fully
understand this Plea Agreement.

ce No promises, agreements, understandings, or conditions have been made or
entered into in connection with the decision to plead guilty except those set
forth in this Plea Agreement.

d. The Defendant is satisfied with the legal services provided by defense
counsel in connection with this Plea Agreement and matters related to it.
€. The Defendant has entered into this Plea Agreement freely, voluntarily, and

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without reservation and the Defendant's desire to enter a plea of guilty is not
the result of threats or coercion directed at the Defendant or anyone
connected with the Defendant.

REPRESENTATIONS BY DEFENSE COUNSEL
29. —_ By signing this Plea Agreement, counsel for the Defendant acknowledges that:

a. Counsel has carefully reviewed every part of this Agreement with the
Defendant and this Agreement accurately and completely sets forth the
entire agreement between the United States and the Defendant.

b. Counsel has explained the ramifications of the Plea Agreement to the
Defendant, and believes that the Defendant understands this Plea
Agreement, what rights are being lost by pleading guilty, and what the
United States has agreed to do in exchange for the plea of guilty.

c. Counsel believes that the Defendant’s decision to enter into this Agreement
is an informed and voluntary one.

PLEA AGREEMENT CONSTITUTES THE ENTIRE AGREEMENT
30. The Defendant and his attorney both acknowledge that this Plea Agreement
constitutes the entire agreement of the parties. Further, all parties agree that there are no oral

agreements or promises which have been made to induce the Defendant to change his plea to

 

guilty.
Dated this 29th day of October , 2020.
MK hello 26 des Wa DAVID CLAY FOWLKES
Alberto Ledesma, defendant FIRST ASSISTANT UNITED STATES
a/k/a Juan Socorro Maciel-Martinez ATTORNEY

a/k/a Juan Gonzalez
a/k/a Juan Gonzalez-Martinez

a/k/a Juan Maciel a
a/k/a Juan Martinez-Maciel By: BRANDON Pang signed by BRANDON
CARTER Date: 2020.10.29 10:37:24 -05'00"

a/k/a Juan Marciel

Brandon Carter
LO Assistant U.S. Attorney
Jantes Pferc
Atto or Defendant

 

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